      Case 8:17-cv-02166-AG-JDE Document 35 Filed 05/02/18 Page 1 of 1 Page ID #:190
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 Attorney for Plaintiff BRUCE FELT


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 BRUCE FELT,                                                             CASE NUMBER
                                                                                             8:17-cv-02166-AG-JDE
                                                          Plaintiff(s)
                             v.
 TEN-X, LLC, et al.,                                                          ORDER ON APPLICATION OF NON-
                                                                            RESIDENT ATTORNEY TO APPEAR IN A
                                                      Defendant(s).             SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  OSTER, STEVEN M.                                                                 of    OSTER LAW FIRM
  Applicant’s Name (Last Name, First Name & Middle Initial                               1320 19TH STREET, N.W., SUITE 601
  202.596.5291                             202.747.5862                                  WASHINGTON, DC 20036
  Telephone Number                         Fax Number
  steve@richardgrimm.copm
                              E-Mail Address                                             Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  BRUCE FELT



  Name(s) of Party(ies) Represent                                   Plaintiff(s) ☐ Defendant(s) ☐Other:
and designating as Local Counsel
  GRIMM, RICHARD A.                                                                 of   LAW OFFICE OF RICHARD GRIMM
  Designee’s Name (Last Name, First Name & Middle Initial                                2901 WEST COAST HIGHWAY
  177463                             650.248.5487                  650.618.9856          SUITE 200
   Designee’s Cal. Bar No.           Telephone Number              Fax Number            NEWPORT BEACH, CA 92663
  richard@richardgrimm.com
                               E-Mail Address                                            Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☒GRANTED
  ☐DENIED:             ☐    for failure to pay the required fee.
                       ☐    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                       ☐    for failure to complete Application:
                       ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                       ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                            District.
                       ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: May 2, 2018
                                                                                   U.S. District Judge Andrew J Guilford

 G-64 Order (05/16)    (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
